10/21/2020    Case: 1:22-cv-03861      Document
                          Yahoo Mail - Fwd: Suspension#:
                                                       of 11-21     Filed:groups
                                                          the sex offender  11/14/22     Pageof1theofSecond
                                                                                 and termination      1 PageID
                                                                                                            Change #:448
                                                                                                                   Act grant




     Fwd: Suspension of the sex offender groups and termination of the Second Change Act
     grant

     From: Dr. Fred Nance Jr. (drfred.nancejr@gmail.com)

     To:     frednance@clickservices.org
     Date: Wednesday, October 21, 2020, 02:19 PM CDT




     ---------- Forwarded message ---------
     From: Hattie Wash <washhattie@gmail.com>
     Date: Mon, Sep 21, 2020 at 7:28 PM
     Subject: Suspension of the sex offender groups and termination of the Second Change Act grant
     To: Gerri Taylor <tgerri99@yahoo.com>, mitzi scott <mitziscott10@yahoo.com>, curtis slate <curtiscurtis47@aol.com>,
     Sheila Chew <sacpoiple1@gmail.com>, <shudson305@hotmail.com>, Jean Daniel <Daniel_Jean716@yahoo.com>,
     marcie collins <marcie_93@yahoo.com>, Chad Ellis <seragi73@yahoo.com>, Eleanor Harris
     <eleanorharris98@yahoo.com>, Edward Butler <dr_ebutler@yahoo.com>, Jamie Enge <jamiee425@gmail.com>, Dr.
     Fred Nance Jr. <drfred.nancejr@gmail.com>, valerie minor <vminor2018@gmail.com>, LORI ORTIZ
     <loriortiz6199@comcast.net>, <pebsluvsgod@yahoo.com>, <earlene416@gmail.com>, <srobin21@csu.edu>, Dr.
     Karen Witherspoon <doctorwitherspoon@gmail.com>, THOMAS BRADLEY <tbacpa52@yahoo.com>,
     <trentonfedrick@yahoo.com>, <johnson_l@comcast.net>


     The Covid-19 Pandemic,the Shelter in Place Mandate by the State of Illinois, less than 15% of sex offender clients
     paying their fees as well as EMAGES not receiving a payment from the FY21 State budget which began July, 2020 has
     created an economic hardship and cash flow problem for EMAGES.

     Given the above Effective October 1, 2020 EMAGES is suspending our sex offender groups and returning the Second
     Chance Act grant back to the Office of Justice Programs. Additionally, Staff in the substance abuse programs work week
     will be reduced from a five day work week to a four day week. If funding is not received before October 1, 2020, I will not
     be able to meet EMAGES October 1, 2020 payroll for the substance abuse program and the sex offender group
     facilitators.

     I have scheduled a ZOOM meeting for Thursday September 24, 2020 at 7:00 p.m. to discuss the above changes and
     address any concerns you may have. Please let me know if you are unable to attend the meeting.

     You will receive a ZOOM login number tomorrow.
     Dr. Wash


     --
     /s/Dr. Fred Nance Jr., Ph.D.
     Human Services/Social Policy Analysis
     Program and Policy Development
     708-921-1395




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